                            EXHIBIT 8




Case 3:18-cv-01234 Document 201-8 Filed 04/13/22 Page 1 of 4 PageID #: 12242
                                                                                     LABORATORY REPORT


                                                                                       Client#: -
                                                                                       Sample: Potassium Chloride 2mEq/ml
                                                                                        Cone.: 2meq/ml
                                                                                         Lot#:
                                                                                  Sample ID#:
                                                                                   Date Rec'd: 07/16/2019
                                                                                  Storage Loe: FR


         Chemistry Tes ts:                                      Da te                Ree_orted            M easured               Potenc~
         Potassium Chloride                                  07/17/2019            2.00 mEq/mL           2.23 mEq/mL               112 %

         Microbiology Tests:                                    Da te               Measured                 Res ult
         USP<71> Sterility                                   07/30/2019                                      Pass




                     N o tes:
                Potency: Potency is determined via USP <621 > HPLC, USP<851 > Spectrophotometry, and/or specific monograph
                            testing procedures.
         USP<71> Sterility: This test fully COMPLIES with the USP <71> compendia! requirements of sterility testing for the
                            presence of bacteria, yeast, mold, and fungi. Per USP <71>, 'This test is applied to substances,
                            preparations, or articles, which, according to the Pharmacopeia, are req uired to be sterile. A satisfactory
                            result only indicates that no contaminating microorganism has been found in the sample examined under
                            the conditions of the test." Method suitabifity has been verified. The citation to USP <71 > is conditioned
                            on the accuracy of our client's verification that the sampling p rogram complies with the provisions of
                                USP<71>.




Respectfully submitted,




                                                          Def. Page
            Case 3:18-cv-01234 Document 201-8 Filed 04/13/22   2nd Int. -
                                                                        & 4RFP
                                                                     2 of      & RFA
                                                                            PageID    000087
                                                                                   #: 12243
                                                                                                                                     Page 1 of 1
                                                                LABORATORY REPORT

                                                                Account#:        -
                                                                Sample Name:         •• -    II   11   ride
                                                                Lot#:
                                                                Storage Conditions: Frozen



  Date Received: 8/6/2019


  Chemistry Tests:
  Potency (Potassium Chloride : 2.00000 mEq/mL)                                                        Date Completed: 8/12/2019
      Measured Concentration:                     1.88 mEq/mL
      Potency:                                    94.0%
      Method:                                     ICPMS
      Below Detection Limit:                      False




Respectfully submitted,




 Print Date: 8/1212019 10:59:15 AM                                                                                Page 1 of 1

                                                    Def. Page
      Case 3:18-cv-01234 Document 201-8 Filed 04/13/22   2nd Int. & 4RFP
                                                               3 of      & RFA
                                                                      PageID    000088
                                                                             #: 12244
                                                                         LABORATORY REPORT



 Phone:

 Fax:
                                                                         Account #:
                                                                         Sample Name:
                                                                         Lot #:
                                                                                               -Potassium chloride


                                                                         Storage Conditions: Frozen



 Date Received: 7/17/2020                                                Submission #:



 Chemistry Tests:
 Potency (Solution) (Potassium Chloride : 2.00000 mEq/mL)                         Date Started: 7/20/2020      Date Completed: 7/21/2020
    Measured Concentration:                       1.99 mEq/mL
    Potency:                                      99.5 %
    Method:                                       ICP-OES


 Microbiology Tests:
 USP <71> Sterility Test                                                          Date Started: 7/17/2020      Date Completed: 7/31/2020
    Method Performed:                              Membrane Filtration
    Start Date:                                    7/17/2020
    End Date:                                      7/31/2020
    Results:                                       Pass




Respectfully submitted,




Results apply only to the tested sample(s) as received.




 Print Date: 2/8/2022 10:37:43 AM                                                                                         Page 1 of 1

 Revision: 00

    014160
     Case       3:18-cv-01234 Document 201-8 Filed 04/13/22 Page 4 ofDefts. Supp. Resp.
                                                                      4 PageID      #: 02.14.2022
                                                                                        12245
